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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


JOE HOLCOMBE, ET AL.                             §
            Plaintiffs,                          §
                                                 §                  SA-18-CV-00555-XR
V.                                               §
                                                 §
UNITED STATES OF AMERICA,                        §
             Defendant.                          §
                                                 §


                                            ORDER

       On this date, the Court considered the status of this case. In open court on April 14,

2020, the parties provided updates to the Court on the progress of discovery and trial preparation.

As stated in open court, the parties are ORDERED to confer and to file a joint advisory

outlining the remaining depositions to be taken in this case. The advisory should discuss the

scheduling or phasing of the depositions, and the reason each deposition is necessary in this case.

If there are disagreements between the parties on a particular deposition, those disagreements

should be noted in the advisory. The advisory shall be filed within ten (10) days of this Order.

       The parties are further ORDERED to confer on any proposed amendment to the

Scheduling Order (ECF No. 98), including proposed deadlines for the completion of discovery

and the filing of pretrial motions (including dispositive and Daubert motions) and any proposed

continuance of the Jury Trial currently set for September 8, 2020. See ECF No. 98, as amended

by Text Orders dated October 22, 2019 and January 10, 2020.

       This case is set for a status conference on Tuesday, April 28, 2020 at 1:30 p.m.

Pursuant to the Standing Order Regarding Court Operations under the Exigent Circumstances




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created by the COVID-19 Pandemic, the hearing will be conducted by video conference. The

Courtroom Deputy will inform the parties of the means by which the hearing will be conducted.

       It is so ORDERED.

       SIGNED this 14th day of April, 2020.




                                           XAVIER RODRIGUEZ
                                           UNITED STATES DISTRICT JUDGE




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